

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-80,284-01






IN RE FREDERICK DEVANTENOS FRANKLIN, Relator







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. C-2-9766-1154950-A 


IN CRIMINAL DISTRICT COURT NO. 2 

FROM TARRANT COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in Criminal District Court No. 2 of Tarrant County, that more than 35 days have
elapsed, and that the application has not yet been forwarded to this Court.  Relator contends that the
district court entered an order designating issues on November 7, 2012.

	Respondent, the Judge of Criminal District Court No. 2, shall file a response with this Court
by having the District Clerk submit the record on such habeas corpus application.  In the alternative,
Respondent may resolve the issues set out in the order designating issues and then have the District
Clerk submit the record on such application.  In either case, Respondent's answer shall be submitted
within 30 days of the date of this order.  This application for leave to file a writ of mandamus will
be held in abeyance until Respondent has submitted his response.


Filed: October 23, 2013

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